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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     CISCO SYSTEMS INC,                                 Case No. 14-cv-05344-BLF
                                   8                    Plaintiff,
                                                                                            ORDER VACATING JUDGMENT
                                   9             v.
                                                                                            PURSUANT TO FED. R. CIV. P. 60(b)
                                  10     ARISTA NETWORKS, INC.,                             [Re: ECF 798]
                                  11                    Defendant.

                                  12
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 United States District Court




                                  13          Before the Court is Cisco Systems, Inc. (“Cisco”) and Arista Networks, Inc.’s (“Arista”)

                                  14   joint motion pursuant to Fed. R. Civ. P. 60(b) to vacate judgment entered in this action on

                                  15   December 19, 2016 (ECF 750) (the “Judgment”). ECF 798. For the reasons stated below, the

                                  16   joint motion to vacate judgment is GRANTED.

                                  17     I.   BACKGROUND
                                  18          On December 19, 2016, following a jury verdict finding copyright infringement but

                                  19   finding that it was excused under the scènes à faire doctrine, this Court entered judgment in this

                                  20   case. ECF 750. After completion of appellate briefing, oral argument was held before the Federal

                                  21   Circuit. The Federal Circuit has not yet issued a decision. On August 6, 2018, the parties entered

                                  22   into a settlement agreement that resolved pending litigation between them in several fora,

                                  23   including this litigation. That agreement is evidenced by a binding term sheet the parties

                                  24   executed. See Exhibit A – Term Sheet (“Term Sheet”), ECF 798-1. As part of that binding

                                  25   agreement, the parties agreed to jointly approach this Court with legal grounds for vacatur to

                                  26   attempt to persuade the Court to vacate the Judgment in this action. Term Sheet at 11–12.

                                  27          Now, jurisdiction over this case has returned to this Court on limited remand from the

                                  28   Federal Circuit under Fed. R. App. P. 12.1(b). That Rule provides a court of appeals may remand
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                                   1   “for further proceedings” while an appeal remains pending if the district court states that it would

                                   2   grant a motion to vacate a judgment pursuant to Fed. R. Civ. P. 60(b). On September 5, 2018, this

                                   3   Court issued an order granting the parties’ joint motion for an indicative ruling pursuant to Fed. R.

                                   4   Civ. P. 62.1 and “expressly stat[ing] that it would grant a motion under Fed. R. Civ. P. 60(b) to

                                   5   vacate the Judgment if the Court of Appeals for the Federal Circuit remands the action back to the

                                   6   Court for that purpose.” ECF 796. On September 10, 2018, the Federal Circuit granted the

                                   7   parties’ joint motion pursuant to Fed. R. App. P. 12.1 based on this Court’s Rule 62.1 order,

                                   8   returning the case to this Court for the purpose of considering a joint motion to vacate the

                                   9   Judgment under Fed. R. Civ. P. 60(b). See No. 17-2145, Dkt. 109 (Fed. Cir. Sept. 10, 2018)

                                  10   (available at ECF 797).

                                  11    II.   LEGAL STANDARD
                                  12          Under Rule 60(b), a court may relieve a party from a final judgment for any of six reasons
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                                  13   upon a showing of “(1) mistake, surprise, or excusable neglect; (2) newly discovered evidence; (3)

                                  14   fraud; (4) a void judgment; (5) a satisfied or discharged judgment; or (6) ‘extraordinary

                                  15   circumstances’ which would justify relief.” Fuller v. M.G. Jewelry, 950 F.2d 1437, 1442 (9th Cir.

                                  16   1991); see also Fed. R. Civ. P. 60(b). Where a judgment is mooted “by happenstance” or “by

                                  17   settlement,” the district court employs an “equitable balancing test” standard to determine whether

                                  18   vacatur is warranted under Rule 60(b). Am. Games, Inc. v. Trade Prods., Inc., 142 F.3d 1164,

                                  19   1168 (9th Cir. 1998). “Under that equitable balancing test, the district court should consider ‘the

                                  20   consequences and attendant hardships of dismissal or refusal to dismiss’ and ‘the competing

                                  21   values of finality of judgment and right to relitigation of unreviewed disputes.’” In re: TFT-LCD

                                  22   (Flat Panel) Antitrust Litig., 2012 WL 12369590, at *4 (N.D. Cal. Oct. 15, 2012) (quoting Am.

                                  23   Games, 142 F.3d at 1168) (quoting in turn Ringsby Truck Lines, Inc. v. W. Conf. of Teamsters, 686

                                  24   F.2d 720, 722 (9th Cir. 1982)).

                                  25   III.   DISCUSSION
                                  26          As an initial matter, the Court notes that the parties jointly bring this motion pursuant to a

                                  27   negotiated and binding term sheet, thus obviating concerns that vacatur would “benefit [only] the

                                  28   unsuccessful litigant.” See Twentieth Century-Fox Film Corp. v. Dunnahoo, 637 F. 2d 1338, 1341
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                                   1   (9th Cir. 1981) (denying defendant relief under Rule 60(b) from judgment entered against

                                   2   him); see also Beckway v. DeShong, 2012 WL 1355744, at *2 (N.D. Cal. 2012). Here, unlike in

                                   3   Dunnahoo, both parties—including the party for which judgment was entered—seek vacatur. See

                                   4   Joint Motion to Vacate Judgment (“Joint Motion”) at 1, ECF 798.

                                   5           Turning to the “equitable balancing” factors, the Court finds that the balance of equites

                                   6   supports vacatur of the Judgment. First, the “consequences and attendant hardships of dismissal

                                   7   or refusal to dismiss” favor vacatur. Am. Games, 142 F.3d at 1168. The parties have engaged in “a

                                   8   lengthy set of disputes conducted in multiple tribunals on a number of intellectual property and

                                   9   related issues,” see Joint Motion at 3, and the parties’ settlement agreement envisions resolution of

                                  10   all of these cases, see Term Sheet at 1–4. Thus, resolution of the instant matter by vacatur would

                                  11   spare the parties and the judicial system the burden of further litigation, including resolution of the

                                  12   pending appeal and any remand proceedings that may result therefrom.
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                                  13           Second, vacatur of the Judgment would serve the “value of finality” in this litigation and

                                  14   would not upset the “right to relitigation of unreviewed disputes.” Am. Games, 142 F.3d at 1168.

                                  15   The parties’ settlement agreement provides a mechanism to address the copyright infringement

                                  16   claims underlying this action. See Term Sheet at 9–11. In addition, leaving the Judgment in place

                                  17   would serve minimal interest in reducing future litigation, as the highly fact-specific nature of the

                                  18   dispute over the particular command line interface asserted here would make it difficult for other

                                  19   parties to use the Judgment preclusively. See, e.g., Syverson v. Int’l Bus. Machs. Corp., 472 F.3d

                                  20   1072, 1078 (9th Cir. 2007) (nonmutual issue preclusion applies only where, inter alia, “the

                                  21   identical issue . . . was actually litigated . . . [and] was decided in a final judgment”).

                                  22   IV.     CONCLUSION
                                  23           For the foregoing reasons, the parties joint motion to vacate judgment is GRANTED.

                                  24   Accordingly, the Judgment at ECF 750 is hereby VACATED.

                                  25           IT IS SO ORDERED.

                                  26   Dated: October 1, 2018

                                  27                                                      ______________________________________
                                                                                          BETH LABSON FREEMAN
                                  28                                                      United States District Judge
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